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AO 440 (Rev. 06/12} Summons in a Civil Action (Page 2)

Civil Action No. 20-cv-101

PROOF OF SERVICE
(This section should not be filed with the court untess required by Fed. R. Civ. P. 4 ())

This summons for (name of individual and tite, ifaw) Michael A. Hughes, U.S. Marshal (Superior Court)
was received by me on (date) 01/15/2020

CI personally served the summons on the individual at (place)
On (date) ; Or

0 I left the summons at the individual’s residence or usual place of abode with (name)
, a person of suitable age and discretion who resides there,

On (date) - and mailed a copy to the individual’s last known address; or

of [ served the summons on (name of individual) S V \y A Seton, . who is

designated by law to accept service of process on belilf of {name af organization)

 

Michael A. Hughes, U.S. Marshal (Superior Court) on (date) 01/15/2020 > OF

© I returned the summons unexecuted because + or

O Other fspecifi):

My fees are $ 0.00 for travel and $ 0.00 for services. for a total of $ 0.00

| declare under penalty of perjury that this information is true.

Date: 01/16/2020

 

 

ver S signature

Maya Little, Investigative Specialist

Prinied name and title

 

633 Indiana Avenue, NW
Washington, DC 20004

Server 's address

Additional information regarding attempted service, ete:

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